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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

IN RE: AQUEOUS FILM-FORMING FOAMS PRODUCTS                         MDL No.
LIABILITY LITIGATION                                               2:18-mn-2873-RMG
                                                               )
SUSQUEHANNA AREA REGIONAL AIRPORT                              )
AUTHORITY,                                                     )
                                                               )
               Plaintiff,                                      )
-vs -                                                          )   COMPLAINT
                                                               )   Case No: 2:22-cv-01753-RMG
THE 3M COMPANY, f/k/a Minnesota Mining and                     )
Manufacturing Co., AMEREX CORPORATION,                         )   Jury Trial Demanded
ARCHROMA U.S. INC., BASF CORPORATION,                          )
individually and as successor in interest to Ciba Inc.,
BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER                        )
GLOBAL CORPORATION, CHEMDESIGN PRODUCTS                        )
INC., CHEMGUARD INC. CHEMICALS, INC.,                          )
CLARIANT CORPORATION, individually and as successor            )
in interest to Sandoz Chemical Corporation, CORTEVA,           )
INC., individually and as successor in interest to DuPont      )
Chemical Solutions Enterprise, DEEPWATER
                                                               )
CHEMICALS, INC., DUPONT DE NEMOURS INC.,
individually and as successor in interest to DuPont Chemical   )
Solutions Enterprise, DYNAX CORPORATION, E. I.                 )
DUPONT DE NEMOURS AND COMPANY, individually                    )
and as successor in interest to DuPont Chemical Solutions      )
Enterprise, KIDDE-FENWAL, INC., individually and as            )
successor in interest to Kidde Fire Fighting, Inc., NATION     )
FORD CHEMICAL COMPANY, NATIONAL FOAM,
                                                               )
INC., THE CHEMOURS COMPANY, individually and as
successor in interest to DuPont Chemical Solutions             )
Enterprise, THE CHEMOURS COMPANY FC, LLC,                      )
individually and as successor in interest to DuPont Chemical   )
Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,              )
individually and as successor in interest to The Ansul         )
Company,                                                       )
               Defendants.                                     )
                                                               )
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                      COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff SUSQUEHANNA AREA REGIONAL AIRPORT AUTHORITY (“Plaintiff”),

by and through its undersigned counsel, hereby files this Complaint against Defendants, 3M

COMPANY, f/k/a Minnesota Mining and Manufacturing Co., AMEREX CORPORATION,

ARCHROMA U.S. INC., BASF CORPORATION, BUCKEYE FIRE EQUIPMENT

COMPANY, CARRIER GLOBAL CORPORATION, CHEMDESIGN PRODUCTS INC.,

CHEMGUARD INC., CHEMICALS, INC., CLARIANT CORPORATION, CORTEVA, INC.,

DEEPWATER          CHEMICALS,         INC.,    DUPONT         DE    NEMOURS          INC.,    DYNAX

CORPORATION, E. I. DUPONT DE NEMOURS AND COMPANY, KIDDE-FENWAL, INC.,

NATION FORD CHEMICAL COMPANY, NATIONAL FOAM, INC., THE CHEMOURS

COMPANY, THE CHEMOURS COMPANY FC, LLC, and TYCO FIRE PRODUCTS LP

(collectively “Defendants”) and alleges, upon information and belief, as follows:

                                         INTRODUCTION

           1.   This action arises from the contamination of groundwater by the use of aqueous

film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl substances

(“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid (“PFOA”).

           2.   The contamination was foreseeable to the Defendants named herein, who

manufactured and/or sold such products.

           3.   PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

firefighting suppressant agents used in training and firefighting activities for fighting Class B fires.

Class B fires include fires involving hydrocarbon fuels such as petroleum or other flammable

liquids.




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       4.      PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

associated with multiple and significant adverse health effects in humans, including but not limited

to kidney cancer, testicular cancer, high cholesterol, thyroid disease, ulcerative colitis, and

pregnancy-induced hypertension.

       5.      At various times from the 1960s through today, Defendants designed,

manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or

their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF (collectively,

“AFFF/Component Products”).

       6.      Defendants    designed,    manufactured,    marketed,    distributed,   and/or   sold

AFFF/Component Products with the knowledge that these toxic compounds would be released

into the environment during fire protection, training, and response activities, even when used as

directed and intended by Defendants.

       7.      Since its creation in the 1960s, AFFF designed, manufactured, marketed,

distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

intended by Defendants, and subsequently released into the environment during fire protection,

training, and response activities, resulting in widespread PFAS contamination.

       8.      Since 1998, the Susquehanna Area Regional Airport Authority (“SARAA”) has

owned and operated the Harrisburg International Airport (“HIA”).




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          9.    SARAA’s Board consists of community volunteers appointed to staggered, five-

year terms by the elected officials from Cumberland, Dauphin, and York counties, the cities of

Harrisburg and York, and Fairview and Lower Swatara townships.

          10.   Currently, HIA is the third largest airport in Pennsylvania, offering daily non-stop

flights to fifteen cities throughout the United States.

          11.   In order to operate HIA safely and in compliance with federal laws and regulations

promoted by the Federal Aviation Administration (“FAA”), Plaintiff was required to conduct fire

training operations and firefighting exercises.

          12.   The FAA requires Airports Operators, such as Plaintiff, to regularly perform

firefighting training exercises that involves the application of FAA’s approved fire extinguishing

agents.

          13.   Until 2021 and for decades, AFFF was the approved firefighting agent required by

the FAA application during fire extinguishing training exercises.

          14.   For decades, HIA used AFFF for firefighting training operations. AFFF was

regularly used during fire training exercises at HIA’s fire training area located south of Building

513.

          15.   For Decades, Plaintiff used AFFF products containing PFOS, PFOA, and/or their

chemical precursors, during fire training operations and firefighting exercises in compliance with

FAA regulations, without knowing that it would be released into the environment, even when used

as directed and intended by Defendants.

          16.   Low levels of PFAS were first detected in Plaintiff’s wells in 2014. Subsequent

testing in groundwater samples taken from one manhole and three groundwater monitoring wells




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located at HIA, identified concentrations of PFAS above the Environmental Protection Agency

(“EPA”) Health Advisory (“HAS”) of 70 ppt for PFCs.

       17.     For example, on a water sample taken on March 18, 2021, monitoring well

identified as ERM-201 had levels of 1,051 ppt of combined PFOS and PFOA; on a sample taken

on August 27, 2019, monitoring well BH-56S had levels of 1,259 ppt of combined PFOS and

PFOA. Other testing results consistently have shown the presence of PFAS in the soil, water wells,

and groundwater at HIA.

       18.     Airports and municipal fire departments, such as HIA, were unaware of the

environmental, health risks and hazards of using Defendants’ AFFF/Component Products-

containing PFOA and PFOS for decades. These sites have been linked to the widespread

contamination of surface and groundwater, as well as public drinking water wells, with PFOA,

PFOS, and other PFCs throughout the country.

       19.     As the levels of PFAS in its wells have increased, Plaintiff has been forced to take

remedial measures designed to mitigate the levels of contamination in its wells, including but not

limited to: (1) blending water from multiple sources to dilute contamination in the water drawn

from certain wells; (2) taking three of its wells completely offline; and (3) rehabilitating and

reactivating a well where no PFAS had been detected.

       20.     Through this action, the Plaintiff seeks compensatory damages for the harm done

to its property and the costs associated with investigating, remediating, and monitoring the

groundwater wells contaminated with PFAS due to the use of AFFF at HIA.

                                 JURISDICTION AND VENUE

       21.     Pursuant to this Court’s Case Management Order No. 3, this Complaint is filed as

an original action in the United States District Court for the District of South Carolina.




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       22.     This Court has subject matter jurisdiction over the Defendants pursuant to 28

U.S.C. §1332(a), in that this action seeks monetary relief in excess of the sum or value of $75,000,

exclusive of interest, and there is complete diversity between the parties.

       23.     Plaintiff has its principal place of business located at One Terminal Dr, Suite 300,

Middletown, PA 17057

       24.     Pursuant to 28 U.S.C. § 1391, Plaintiff's Home Venue is the United States District

Court for the Middle District of Pennsylvania.

       25.     This Court has personal jurisdiction over Defendants by virtue of each Defendants’

regular and systematic contacts with Pennsylvania, including, among other things, purposefully

marketing, selling and/or distributing their AFFF/Component Products to and within

Pennsylvania, and because they have the requisite minimum contacts with Pennsylvania necessary

to constitutionally permit the Court to exercise jurisdiction over them consistent with traditional

notions of fair play and substantial justice.

                                                PARTIES

       A.      Plaintiff

       26.     Susquehanna Area Regional Airport Authority is a joint municipal authority duly

organized under Pennsylvania’s state laws, with its principal place of business at One Terminal

Drive, Suite 300, Middletown, PA 17057.

       27.     The Susquehanna Area Regional Airport Authority owns and operates the

Harrisburg International Airport, located at One Terminal Dr, Middletown, PA 17057.

       B.      Defendants

       28.     The term “Defendants” refers to all Defendants named herein jointly and severally.




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                  i.   The AFFF Defendants

        29.     The term “AFFF Defendants” refers collectively to Defendants 3M Company,

Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., National Foam, Inc., and Tyco

Fire Products L.P.

        30.     Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

(“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

        31.     Beginning before 1970 and until at least 2002, 3M designed, manufactured,

marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

        32.     Defendant Amerex Corporation (“Amerex”) is a corporation organized and

existing under the laws of the State of Alabama, with its principal place of business located at 7595

Gadsden Highway, Trussville, AL 35173.

        33.     Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

manufacturer of hand portable and wheeled extinguishers for commercial and industrial

applications.

        34.     In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

manufacturers of AFFF products in Europe.

        35.     On information and belief, beginning in 2011, Amerex designed, manufactured,

marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.




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         36.     Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

under the laws of the State of Delaware, with its principal place of business located at One Stanton

Street, Marinette, Wisconsin 54143-2542.

         37.     Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

Ansul in 1990.

         38.     Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

         39.     After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

and PFOS.

         40.     Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

the laws of the State of Texas, with its principal place of business located at One Stanton Street,

Marinette, Wisconsin 54143.

         41.     On information and belief, Chemguard designed, manufactured, marketed,

distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

PFOS.

         42.     On information and belief, Chemguard was acquired by Tyco International Ltd. in

2011.

         43.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

organized under the laws of the State of Ohio, with its principal place of business located at 110

Kings Road, Kings Mountain, North Carolina 28086.

         44.     On information and belief, Buckeye designed, manufactured, marketed, distributed,

and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.




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       45.     Defendant National Foam, Inc. (“National Foam”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business located at 141 Junny

Road, Angier, North Carolina 27501.

       46.     Beginning in or around 1973, National Foam designed, manufactured, marketed,

distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

       47.     On information and belief, National Foam currently manufactures the Angus brand

of AFFF products and is a subsidiary of Angus International Safety Group.

       48.     On information and belief, National Foam merged with Chubb Fire Ltd. to form

Chubb National Foam, Inc. in or around 1988.

       49.     On information and belief, Chubb is or has been composed of different subsidiaries

and/or divisions, including but not limited to, Chubb Fire & Security Ltd., Chubb Security, PLC,

Red Hawk Fire & Security, LLC, and/or Chubb National Foam, Inc. (collectively referred to as

“Chubb”).

       50.     On information and belief, Chubb was acquired by Williams Holdings in 1997.

       51.     On information and belief, Angus Fire Armour Corporation had previously been

acquired by Williams Holdings in 1994.

       52.     On information and belief, Williams Holdings was demerged into Chubb and Kidde

P.L.C. in or around 2000.

       53.     On information and belief, when Williams Holdings was demerged, Kidde P.L.C.

became the successor in interest to National Foam System, Inc. and Angus Fire Armour

Corporation.

       54.     On information and belief, Kidde P.L.C. was acquired by United Technologies

Corporation in or around 2005.




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       55.     On information and belief, Angus Fire Armour Corporation and National Foam

separated from United Technologies Corporation in or around 2013.

       56.     Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

Hartford, Connecticut 06101.

       57.     On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

Corporation.

       58.     On information and belief, Kidde-Fenwal is the entity that divested the AFFF

business unit now operated by National Foam in 2013.

       59.     Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

Boulevard, Palm Beach Gardens, Florida 33418.

       60.     On information and belief, Carrier was formed in March 2020 when United

Technologies Corporation spun off its fire and security business before it merged with Raytheon

Company in April 2020.

       61.     On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

United Technologies Corporation spun off its fire and security business in March 2020.

       62.     On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

precursors that were stored, handled, used, trained with, tested equipment with, otherwise

discharged, and/or disposed at HIA.




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                ii.   The Fluorosurfactant Defendants

       63.    The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M,

BASF Corporation, ChemDesign Products Incorporated, Chemguard Inc., Deepwater Chemicals,

Inc., E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours Inc., and Dynax Corporation.

       64.    Defendant BASF Corporation (“BASF”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 100 Park Avenue,

Florham Park, New Jersey 07932.

       65.    On information and belief, BASF is the successor-in-interest to Ciba. Inc. (f/k/a

Ciba Specialty Chemicals Corporation).

       66.    On information and belief, Ciba Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       67.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

organized under the laws of Delaware, with its principal place of business located at 2 Stanton

Street, Marinette, WI, 54143.

       68.    On information and belief, ChemDesign designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       69.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

under the laws of Delaware, with its principal place of business located at 196122 E County Road

40, Woodward, OK, 73801.




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       70.     On information and belief, Deepwater Chemicals designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products

       71.     Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

Drive, Elmsford, New York 10523.

       72.     On information and belief, Dynax entered into the AFFF market on or about 1991

and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

containing PFOS, PFOA, and/or their chemical precursors.

       73.     On information and belief, Dynax designed, manufactured, marketed, distributed,

and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

chemical precursors for use in AFFF products.

       74.     Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

organized under the laws of the State of Delaware, with its principal place of business located at

974 Centre Road, Wilmington, Delaware 19805.

       75.     Defendant The Chemours Company (“Chemours Co.”) is a limited liability

company organized under the laws of the State of Delaware, with its principal place of business

located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

       76.     In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

along with vast environmental liabilities which Chemours Co. assumed, including those related to

PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

of AFFF products.




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       77.        On information and belief, Chemours Co. was incorporated as a subsidiary of

DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned

subsidiary of DuPont.

       78.        In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

“performance chemicals” business line, which includes its fluoroproducts business, distributing

shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

independent, publicly-traded company.

       79.        Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

liability company organized under the laws of the State of Delaware, with its principal place of

business located at 1007 Market Street, Wilmington, Delaware, 19899.

       80.        Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

Delaware 19805.

       81.        Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

Way, Midland, Michigan 48674.

       82.        On June 1, 2019, DowDuPont separated its agriculture business through the spin-

off of Corteva.

       83.        Corteva was initially formed in February 2018. From that time until June 1, 2019,

Corteva was a wholly-owned subsidiary of DowDuPont.




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       84.     On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

       85.     Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

agriculture and nutritional businesses.

       86.     On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines

following the above-described spin-offs, as well as the balance of the financial assets and liabilities

of E.I DuPont not assumed by Corteva.

       87.     Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

referred to as “DuPont” throughout this Complaint.

       88.     On information and belief, DuPont designed, manufactured, marketed, distributed,

and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

AFFF products.

       89.     On information and belief, 3M and Chemguard also designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products.

       90.     On information and belief, the Fluorosurfactant Defendants                    designed,

manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

tested equipment with, otherwise discharged, and/or disposed at HIA.




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                 iii.   The PFC Defendants

       91.     The term “PFC Defendants” refers collectively to 3M, Archroma U.S. Inc.,

ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation, Deepwater Chemicals, Inc., E.

I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company FC,

LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford Chemical Company.

       92.     Defendant Archroma U.S. Inc. (“Archroma”) is a foreign corporation organized

and existing under the laws of Switzerland, with its a principal place of business at 5435 77 Center

Drive, Charlotte, North Carolina 28217.

       93.     On information and belief, Archroma was formed in 2013 when Clariant

Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

Partners.

       94.     On information and belief, Archroma designed, manufactured, marketed,

distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       95.     Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville

Road, Baytown, TX 77520.

       96.     On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

AFFF products.

       97.     Defendant Clariant Corporation (“Clariant”) is a corporation organized and

existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

Charlotte, North Carolina 28205.




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       98.    On information and belief, Clariant is the successor in interest to the specialty

chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

Sandoz spun off its specialty chemicals business to form Clariant in 1995.

       99.    On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

       100.   Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

organized and existing under the laws of South Carolina, with its principal place of business

located at 2300 Banks Street, Fort Mill, SC 29715.

       101.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

products.

       102.   On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       103.   On information and belief, the Fluorochemical Defendants supplied PFCs

containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the

fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

equipment with, otherwise discharged, and/or disposed at HIA.

       104.   Defendants represent all or substantially all the market for AFFF/Component

Products at HIA.

        FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

       A.     PFOA and PFOS and Their Risk to Public Health

       105.   PFAS are chemical compounds containing fluorine and carbon. These substances

have been used for decades in the manufacture of, among other things, household and commercial


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products that resist heat, stains, oil, and water. These substances are not naturally occurring and

must be manufactured.

       106.       The two most widely studied types of these substances are PFOA and PFOS.

       107.       PFOA and PFOS have unique properties that cause them to be: (i) mobile and

persistent, meaning that they readily spread into the environment where they break down very

slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

humans and animals.

       108.       PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

into groundwater, where they can travel significant distances.

       109.       PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,

chemically, and biologically stable. They resist degradation due to light, water, and biological

processes.

       110.       Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

the concentration of a substance in the tissues of organisms increases as the substance travels up

the food chain.

       111.       PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.




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        112.    PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

humans eat fish that have ingested PFOA and/or PFOS.

        113.    The chemical structure of PFOA and PFOS makes them resistant to breakdown or

environmental degradation. As a result, they are persistent when released into the environment.

        114.    Exposure to PFAS is toxic and poses serious health risks to humans and animals.

        115.    PFAS are readily absorbed after consumption or inhalation and accumulate

primarily in the bloodstream, kidney, and liver.

        B.      Defendants’ Manufacture and Sale of AFFF/Component Products

        116.    AFFF is a type of water-based foam that was first developed in the 1960s to

extinguish hydrocarbon fuel-based fires.

        117.    AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

        118.    AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous

film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

and is the source of the designation aqueous film-forming foam.

        119.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

or the chemical precursors that degrade into PFOS and PFOA.

        120.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

PFOS, and/or their precursor chemicals into the environment.




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       121.      AFFF that contains fluorosurfactants, however, is better at extinguishing

hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

smothering the fire and starving it of oxygen.

       122.      The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

patented process of electrochemical fluorination (“ECF”).

       123.      The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

       124.      The PFCs the Fluorosurfactant Defendants needed to manufacture those

fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

manufactured, marketed, distributed and/or sold by the PFC Defendants.

       125.      On information and belief, the PFC and Fluorosurfactant Defendants were aware

that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

sold by the AFFF Defendants.

       126.      On information and belief, the PFC and Fluorosurfactant Defendants designed,

manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the

AFFF products discharged into the environment at HIA during fire protection, training, and

response activities, resulting in widespread PFAS contamination.

       127.      On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and/or sold the AFFF products discharged into the environment at HIA

during fire protection, training, and response activities, resulting in widespread PFAS

contamination.




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       C.      Defendants’ Knowledge of the Threats to Public Health and the Environment
               Posed by PFOS and PFOA

       128.    On information and belief, by at least the 1970s 3M and DuPont knew or should

have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

and toxic.

       129.    On information and belief, 3M and DuPont concealed from the public and

government agencies its knowledge of the threats to public health and the environment posed by

PFOA and PFOS.

       130.    Some or all of the Defendants understood how stable the fluorinated surfactants

used in AFFF are when released into the environment from their first sale to a customer, yet they

failed to warn their customers or provide reasonable instruction on how to manage wastes

generated from their products.

                  i.    1940s and 1950s: Early Warnings About the Persistence of AFFF

       131.    In 1947, 3M started its fluorochemical program, and within four years, it began

selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

contained in AFFF products were understood prior to their commercial application at 3M’s Cottage

Grove facility in Minnesota.

       132.    The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do not

react with any of the metals at ordinary temperatures and react only with the more chemically

reactive metals such as sodium, at elevated temperatures.”1




1
 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.


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       133.    Simons further reported that fluorosurfactants produced by the ECF process do not

react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

skeleton of the molecule.      3M understood that the stability of the carbon-to-fluorine bonds

prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

natural processes in the environment.2

       134.    The thermal stability of 3M’s fluorosurfactants was also understood prior to

commercial production. Simons’ patent application further discloses that the fluorosurfactants

produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

Additional research by 3M expanded the understanding of the thermal stability of perfluorocarbon

compounds.3

       135.    Nowhere in any Material Safety Data Sheet for any of Defendants’

AFFF/Component Products is information on the thermal stability of those products disclosed.

Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

products to customers is a failure to warn just how indestructible the AFFF’s ingredients are when

released to unprotected water sources and even treatment plants.

                 ii.   1960s: AFFF’s Environmental Hazards Come Into Focus

       136.    By at least the end of the 1960s, additional research and testing performed by 3M

and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

chemical structure, were resistant to environmental degradation and would persist in the

environment essentially unaltered if allowed to enter the environment.


2
 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
3
 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine
Chemistry, 1(13): 423-462.



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        137.    One 3M employee wrote in 1964: “This chemical stability also extends itself to all

types of biological processes; there are no known biological organisms that are able to attack the

carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its surfactants

were immune to chemical and biological degradation in soils and groundwater.

        138.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143

(the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in

soils for both compounds.5

                 iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                        Risks

        139.    By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

not degrade when released to the environment but would remain intact and persist. Two decades

later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

finally got around to looking at the environmental risks that fluorosurfactants posed.

        140.    An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

was released into the environment.




4
 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
5
  Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.
6
 Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.


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          141.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

understanding of the persistent nature of PFCs.           A 1976 study, for example, observed no

biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

fluorinated.”7

          142.    In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

acknowledged that releasing AFFF into the environment could pose potential negative impacts to

groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

experimental AFFF formulations that would exhibit reduced impact on the environment while

retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

desired in the environmental area, i.e., development of compositions that have a reduced impact

on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the mid-

1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence that

Ansul (or any other Defendant) ever pursued initiatives to do so.

          143.    A 1978 3M biodegradation study likewise reported that an “extensive study

strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its fluorosurfactants

“was found to be completely resistant to biological test conditions,” and that it appeared waterways

were the fluorosurfactant’s “environmental sink.”10


7
    Technical Report Summary, August 12, 1976 [3MA01252037].
8
 Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.
9
 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - II, Jan. 1, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
10
     Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of


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       144.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

to the environmental impact of these chemicals.” The report ominously asked, “If these materials

are not biodegradable, what is their fate in the environment?”

       145.    During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

accumulated in the human body and were “even more toxic” than previously believed.

       146.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

possibility that their products were a source of this PFOS. The finding also should have alerted 3M

to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as

those characteristics could explain how PFOS from 3M's products ended up in human blood.

       147.    In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

3M to the same issues raised by the prior year’s findings.




Fluorocarbons - III, July 19, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
11
  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
12
 Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma,
Aug. 20, 1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.
13
  3M Chronology – Fluorochemicals in Blood, Aug. 26, 1977, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.


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       148.    Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

food contaminated with PFOS.

       149.    In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

workers and came to the same conclusion that there was “no reason” to notify the EPA of the

finding.17

                iv.      1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

       150.    By at least the end of the 1980s, additional research and testing performed by

Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

and other adverse health effects, including elevated liver enzymes and birth defects, had been

observed among workers exposed to such materials, including at least PFOA, but such data was

not published, provided to governmental entities as required by law, or otherwise publicly

disclosed at the time.

       151.    In 1981, DuPont tested for and found PFOA in the blood of female plant workers

Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed


14
  The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and
Survival of Fry of Fathead Minnow, June 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
15
  Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study,
Jan. 2, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
16
  Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90
Day Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20,
1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
17
  Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of
Fluorochemicals in Blood, July 26, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.


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workers, finding two of seven children born to female plant workers between 1979 and 1981 had

birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect. 18

          152.    In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

for environmental safety,” including “legitimate questions about the persistence, accumulation

potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M completed

a study finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later

shared with DuPont and led them to consider whether “they may be obliged under their policy to

call FC-143 a carcinogen in animals.”21

          153.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

workers, leading one of the company’s medical officers to warn in an internal memo: “we must

view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

body.”22

          154.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that the

product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993 studies




18
     C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
19
  3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
20
   Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of
4, Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
21
  Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
22
  Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.


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conducted jointly by 3M and DuPont” as support for this statement. On information and belief, the

MSDS for 3M’s AFFF products did not provide similar warnings or information.

                 v.    Defendants Hid What They Knew from the Government and the Public.

       155.    Federal law requires chemical manufacturers and distributors to immediately notify

the EPA if they have information that “reasonably supports the conclusion that such substance or

mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

       156.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

regarding PFOS, PFOA, and other PFCs dating back decades.

       157.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

it violated the TSCA by concealing the environmental and health effects of PFOA.

       158.    On information and belief, Defendants knew or should have known that AFFF

containing PFOA or PFOS would very likely injure and/or threaten public health and the

environment, even when used as intended or directed.

       159.    Defendants failed to warn of these risks to the environment and public health,

including the impact of their AFFF/Component Products on the quality of unprotected water

sources.

       160.    Defendants were all sophisticated and knowledgeable in the art and science of

designing, formulating, and manufacturing AFFF/Component Products. They understood far

more about the properties of their AFFF/Component Products—including the potential hazards

they posed to human health and the environment—than any of their customers. Still, Defendants

declined to use their sophistication and knowledge to design safer products.


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       D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
               Finally Revealed

       161.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

       162.    Despite decades of research, 3M first shared its concerns with EPA in the late

1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

found in the blood of animals, which is true but omits the most significant information,” according

to a former 3M employee.23

       163.    On information and belief, 3M began in 2000 to phase out its production of products

that contained PFOS and PFOA in response to pressure from the EPA.

       164.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

environmental and health effects associated with them, including a “C8 Science Panel” formed out

of a class action settlement arising from contamination from DuPont’s Washington Works located

in Wood County, West Virginia.

       165.    The C8 panel consisted of three epidemiologists specifically tasked with

determining whether there was a probable link between PFOA exposure and human diseases. In

2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,

ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

hypercholesterolemia.

       166.    Human health effects associated with PFOS exposure include immune system

effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high


23
  Letter from R. Purdy, Mar. 28, 1999, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.


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cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

system.

       167.    The injuries caused by PFAS can arise months or years after exposure.

       168.    Even after the C8 Science Panel publicly announced that human exposure to 50

parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

and represented to governmental entities, their customers, and the public (and continue to do so)

that the presence of PFOA in human blood at the levels found within the United States presents no

risk of harm and is of no legal, toxicological, or medical significance of any kind.

       169.    Furthermore, Defendants have represented to and assured such governmental

entities, their customers, and the public (and continue to do so) that the work of the independent

C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

effects upon and/or any risk to humans with respect to PFOA in human blood.

       170.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

risks associated therewith, effectively preventing the public from discovering the existence and

extent of any injuries/harm as alleged herein.




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       171.      On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

of concern between 2013 and 2015, including PFOS and PFOA.24

       172.      In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

(PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

production and release into the environment of PFOA, called for greater regulation, restrictions,

and limits on the manufacture and handling of any PFOA containing product, and to develop safe

non-fluorinated alternatives to these products to avoid long-term harm to human health and the

environment.25

       173.      On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

2016. The EPA developed the HAs to assist governmental officials in protecting public health

when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration

of PFOS and PFOA in drinking water at or below which adverse health effects are not anticipated

to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on peer-reviewed

studies of the effects of PFOS and PFOA on laboratory animals (rats and mice) and were also

informed by epidemiological studies of human populations exposed to PFOS. These studies




24
  Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water
Systems, 77 Fed. Reg: 26072 (May 2, 2012).
25
  Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins
C, Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and
perfluoroalkyl      substances    (PFASs).    Environ    Health      Perspect    123:A107–A111;
http://dx.doi.org/10.1289/ehp.1509934.
26
  See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects
Support Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.


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indicate that exposure to PFOS and PFOA over these levels may result in adverse health effects,

including:

             a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                birth weight, accelerated puberty, skeletal variations);

             b. Cancer (testicular and kidney);

             c. Liver effects (tissue damage);

             d. Immune effects (e.g., antibody production and immunity);

             e. Thyroid disease and other effects (e.g., cholesterol changes).

        174.    In addition, PFOS and PFOA are hazardous materials because they pose a “present

or potential threat to human health.”27

        175.    In 2016, the National Toxicology Program of the United States Department of

Health and Human Services (“NTP”) and the International Agency for Research on Cancer

(“IARC”) both released extensive analyses of the expanding body of research regarding the

adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

immune hazard to humans” based on a “consistent pattern of findings” of adverse immune effects

in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure was

associated with suppression of immune responses in animal (toxicology) studies.28

        176.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

PFOA” in humans and in experimental animals, meaning that “[a] positive association has been



27
  Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring to
PFOS as a “toxic compound” and a “hazardous chemical.”).
28
  See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph:
Immunotoxicity Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept.
2016), at 1, 17, 19, available at
https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf


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observed between exposure to the agent and cancer for which a causal interpretation is . . .

credible.”29

          177.   California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

1986.30

          178.   The United States Senate and House of Representatives passed the National

Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

contamination from military bases, as well as devoting $7 Million toward the Investing in Testing

Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to conduct a study

into the long-term health effects of PFOA and PFOS exposure.31 The legislation also required that

the Department of Defense submit a report on the status of developing a new military specification

for AFFF that did not contain PFOS or PFOA.32

          179.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33


29
  See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
Polymer Manufacture (Dec. 2016), at 27, 97, available at
http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
30
  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10,
2017 as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid
(PFOA) and Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at
https://oehha.ca.gov/proposition-65/crnr/chemicals-listed-effective-november-10-2017-known-state-
california-cause.
31
  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available
at https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
32
  Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to
Congress, June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-
aqueous-film-forming-foam-report-to-congress/.
33
  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.


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         180.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”

in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

nationwide.”34 Following a public comment period on its proposed decision, the EPA will decide

whether to move forward with the process of establishing a national primary drinking water

regulation for PFOA and PFOS.

         E.     PFAS Contamination at Harrisburg International Airport (“HIA”)

         181.   Harrisburg International Airport (“HIA”) serves Central Pennsylvania and covers

an area of approximately 800 acres at an elevation of 310 feet (94 m) above mean sea level.

         182.   HIA’s Former Firefighting Training Area (“FFTA”) is located at the south Building

513, with 0.25 acres of grassy area. The FFTA was previously used for firefighting training

operations and AFFF was discharged in this area as part of firefighting training operations and fire

training exercises, including but not limited to mandatory AFFF firefighting foam testing required

by FAA regulations.

         183.   The spread of AFFF during the required fire training operations and exercises

caused PFAS components to enter to the ground and groundwater of Plaintiffs property and water

wells.

         184.   Currently, there is no state standard (maximum contaminant level) for PFAS in soil

or water in Pennsylvania. However, the Pennsylvania Department of Environmental Protection

(PADEP) has set draft soil medium specific concentrations (MSCs) for three PFAS compounds:

perfluorooctanesulfonic acid (PFOS), perfluorooctanoic acid (PFOA) or perfluorobutanesulfonic



34
  Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water,
Feb. 20, 2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-
regulate-pfoa-and-pfos-drinking-water.


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acid (PFBS). The medium specific concentrations (MSCs) and groundwater nonresidential used

aquifer (NRUA) levels set by PADEP are the following:

          PFA Compound              PADEP NRUA           PADEP NRDC                 PADEP
                                       MSC                   Surface           Subsurface (2-15ft)
                                       (ng/g)             (0-2 ft) MSC            MSC (ng/g)
                                                              (ng/g)
         PFBS                   190,000                10,000,000              10,000,000

         PFOS                   7                      64,000                  190,000,000

         PFOA                   7                      64,000                  190,000,000



        185.    Plaintiff, out of an abundance of precaution, has been proactively testing the soil

and groundwater at different points in the HIA property. In a soil testing event conducted at HIA

on December 23, 2019, a total of 13 soil boreholes were completed to depths ranging from 13 feet

to 16 feet below ground surface (bgs). Most of the soil borings (SS-1 through SS-11) were

conducted in the vicinity of the former firefighting training operations. Two additional soil borings,

Baseline Sample-1 and Baseline Sample-2 were conducted on the far western and eastern sides of

HIA.

            Sample No.              Constituent            Sample Depth               Result
                                                              (ft bgs)                (ng/g)

               SS-1A                   PFOS                       1                     140

                SS-1B                 PFOA                        6                      17

               SS-2A                   PFOS                       1                      44

                SS-2B                  PFOS                       6                     140

                SS-2C                  PFOS                      12                      22

               SS-3A                  PFOS                        1                     420
                                      PFOA                                               45



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       SS-3B             PFOS                   6                35

       SS-3C             PFOS                  12                42

       SS-4A             PFOS                   1               1300

       SS-4B             PFOS                   6                170

       SS-5A          PFOS/PFOA                12                580

       SS-5B             PFOS                   6               1600

       SS-5C             PFOS                  12                9.3

       SS-6A             PFOS                   1               1600

       SS-6B             PFOS                   6                990

       SS-6C             PFOS                  12               1900

       SS-7A             PFOS                   1               1700

       SS-7B             PFOS                   6               1700

       SS-7C             PFOS                  12               2600

       SS-8A             PFOS                   1                890

       SS-8B             PFOS                   6                680

       SS-8C             PFOS                  12                20

       SS-9A             PFOS                   1                930

       SS-9B             PFOS                   6                300

       SS-9C             PFOS                  12               2000

      SS-10A             PFOS                   1               3400
                         PFOA                                    9.6
      SS-10B             PFOS                   6               1000

      SS-10C             PFOS                  12               1800

      SS-11A             PFOS                   1               1200



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              SS-11B                PFOS                       6                    640

              SS-11C                PFOS                      12                    520



       186.   On December 19, 2019, groundwater samples were collected from three existing

monitoring wells (GW-1, GW-2 and GW-3) at HIA.

       187.   In this testing event, groundwater detections in the former training area – building

513, were detected:

               Sample Location           Constituent                Result
                                                                    (ppt)

                      GW-2                  PFOS                      11

                      GW-2                  PFOA                      6.9

                      GW-2                Combined                   17.9

                                        PFOS/PFOA

                      GW-3                  PFOS                      57

                      GW-3                  PFOA                      6.3

                      GW-3                Combined                   63.3

                                        PFOS/PFOA



       188.   Plaintiff continues to test its groundwater, and extreme high levels of PFAS have

been detected in some of their monitoring wells. Some of the levels are above EPA HAS of 70ppt.

For example, in some sampling activities were conducted from 2015 through 2021, in one manhole

designated as MH-105, and three monitoring wells designated BH-56S, BH-56D and ERM-20I.

       189.   Some of the test results from the multiple sampling events between 2016 through

2021 were:


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Sample Location        Date                Constituent          Result
                                                                (ppt)

   ERM-20I           12/13/2016              PFOS                735

   ERM-20I           12/13/2016              PFOA                736

   ERM-20I           08/09/2017              PFOS                439

   BH-56D            03/28/2017              PFOA                188

    BH-56S           11/17/2017              PFOS                396

   MH-105            03/29/2018              PFOS                184


   ERM-20I           10/10/2018              PFOS                560


    BH-56S           12/05/2018              PFOA                130


    BH-56S           06/18/2019              PFOS               1,200


    BH-56S           08/27/2019              PFOA               190ppt


   ERM-20I           11/21/2019              PFOS                770


   ERM-20I           03/17/2020              PFOS                600


   MH-105            05/21/2020              PFAS                740


   ERM-20I           03/18/2021              PFOS               1,000


   BH-56D            05/20/2021              PFOA                150




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       190.    As the investigation continues, it is anticipated that further contamination from

storage, handling, use, training with, testing equipment with, other discharges, and disposal of

Defendants’ AFFF products may be uncovered. Accordingly, the affected area may expand.

       191.    Plaintiff brings this action to recover damages it either has incurred or will incur in

investigating, monitoring, remediating, and otherwise responding to the PFAS contamination to

stem the threat to public health and the environment caused by Defendants’ AFFF/Component

Products.

       F.      AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
               Groundwater

       192.    AFFF containing PFOS and/or PFOA, once it has been released to the environment,

lacks characteristics that would enable identification of the company that manufactured that

particular batch of AFFF or chemical feedstock.


       193.    A subsurface plume, even if it comes from a single location, such as a retention

pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

from different manufacturers.

       194.    Because precise identification of the specific manufacturer of any given

AFFF/Component Product that was a source of the PFAS found at HIA is nearly impossible, given

certain exceptions, Plaintiff must pursue all Defendants, jointly and severally.

       195.    Defendants are also jointly and severally liable because they conspired to conceal

the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

containing PFOS and PFOA, at Plaintiff's expense, and to attempt to avoid liability.




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               MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                CONCERT OF ACTION, AND ENTERPRISE LIABILITY

       196.    Defendants in this action are manufacturers that control a substantial share of the

market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

in the United States and are jointly responsible for the contamination of the groundwater at HIA.

Market share liability attaches to all Defendants and the liability of each should be assigned

according to its percentage of the market for AFFF/Component Products at issue in this Complaint.

       197.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

chemical precursors found free in the air, soil or groundwater, and each of these Defendants

participated in a territory-wide and U.S. national market for AFFF/Component Products during

the relevant time.

       198.    Concert of action liability attaches to all Defendants, each of which participated in

a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance

of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

Products containing PFOS, PFOA, and/or their chemical precursors.

       199.    Enterprise liability attaches to all the named Defendants for casting defective

products into the stream of commerce.

                                     CAUSES OF ACTION

                                         COUNT I:
                                     DEFECTIVE DESIGN

       200.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

199 above, and further alleges the following:

       201.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to all persons whom its products might


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foreseeably harm, including Plaintiff, and not to market any product which is unreasonably

dangerous in design for its reasonably anticipated use.

       202.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

           a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

               and intended manner;

           b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

           c. PFAS poses significant threats to public health; and

           d. PFAS create real and potential environmental damage.

       203.    Defendants knew of these risks and failed to use reasonable care in the design of

their AFFF/Component Products.

       204.    AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

danger to the environment and to human health than would be expected by ordinary persons such

as Plaintiff and the general public.

       205.    At all times, Defendants were capable of making AFFF/Component Products that

did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

designs existed which were capable of preventing Plaintiff's injuries.

       206.    The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

precursors far outweigh the products’ utility as a flame-control product.

       207.    The likelihood that Defendants’ AFFF/Component Products would be spilled,

discharged, disposed of, or released into the environment and HIA far outweighed any burden on

Defendants to adopt an alternative design, and outweighed the adverse effect, if any, of such

alternative design on the utility of the product.




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          208.   As a direct and proximate result of Defendants’ unreasonably dangerous design,

manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

chemical precursors, Plaintiff has suffered, and continues to suffer, damage to its property and

groundwater wells from PFAS contamination requiring investigation, remediation, and monitoring

costs to be determined at trial.

          209.   Defendants knew that it was substantially certain that their acts and omissions

described above would result in damage to Plaintiff’s property and groundwater wells from PFAS

contamination. Defendants committed each of the above-described acts and omissions knowingly,

willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless disregard for

Plaintiff's health and safety, and/or property rights.

                                            COUNT II:
                                        FAILURE TO WARN

          210.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

209 above, and further allegesthe following:

          211.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

products to all persons whom its product might foreseeably harm, including Plaintiff and the

public.

          212.   Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

             a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                 and intended manner;

             b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

             c. PFAS poses significant threats to public health; and



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           d. PFAS create real and potential environmental damage.

       213.    Defendants knew of the health and environmental risks associated with their

AFFF/Component Products and failed to provide a warning that would lead an ordinary reasonable

user or handler of a product to contemplate the dangers associated with their products or an

instruction that would have avoided Plaintiff's injuries.

       214.    Despite Defendants’ knowledge of the environmental and human health hazards

associated with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking

water supplies, including PFAS contamination of public drinking supplies and private wells,

Defendants failed to issue any warnings, instructions, recalls, or advice regarding their

AFFF/Component Products to Plaintiff, governmental agencies or the public.

       215.    As a direct and proximate result of Defendants’ failure to warn, Plaintiff has suffered,

and continues to suffer, damage to its property and groundwater wells from PFAS contamination

requiring investigation, remediation, and monitoring costs to be determined at trial.

       216.    Defendants knew that it was substantially certain that their acts and omissions

described above would result in damage to Plaintiff’s property and groundwater wells from PFAS

contamination. Defendants committed each of the above-described acts and omissions knowingly,

willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless disregard

for Plaintiff's health and safety, and/or property rights.

                                           COUNT III:
                                          NEGLIGENCE

       217.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

216 above, and further alleges the following:

       218.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to Plaintiff and to all persons whom its products



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might foreseeably harm and to exercise due care in the formulation, manufacture, sale, labeling,

warning, and use of PFAS-containing AFFF.

        219.    Defendants owed a duty to Plaintiff to act reasonably and not place inherently

dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

water was imminent and certain.

        220.    Defendants knew or should have known that PFAS were leaching from AFFF used

for fire protection, training, and response activities.

        221.    Defendants knew or should have known that PFAS are highly soluble in water,

highly mobile, extremely persistent in the environment, and high likely to contaminate water

supplies if released into the environment.

        222.    Defendants knew or should have known that the manner in which they were

designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

would result in the contamination of Plaintiff’s property and groundwater wells with PFAS.

        223.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

can contaminate water resources and are carcinogenic, Defendants negligently:

            a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                PFOA, and/or their chemical precursors;

            b. issued deficient instructions on how their AFFF/Component Products should be used

                and disposed of, thereby permitting PFAS to contaminate the groundwater in and

                around HIA;




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            c. failed to recall and/or warn the users of their AFFF/Component Products of the

                dangers of groundwater contamination as a result of standard use and disposal of their

                products;

            d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                AFFF/Component Products; and

            e. failed to take reasonable, adequate, and sufficient steps or actions to eliminate, correct,

                or remedy any contamination after it occurred.

        224.    The magnitude of the burden on the Defendants to guard against this foreseeable

harm to Plaintiff was minimal, as the practical consequences of placing this burden on the

Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

warnings about their AFFF/Component Products.

        225.    As manufacturers, Defendants were in the best position to provide adequate

instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

to take steps to eliminate, correct, or remedy any contamination they caused.

        226.    As a direct and proximate result of Defendants’ negligence, Plaintiff has suffered,

and continues to suffer, damage to its property and groundwater wells from PFAS contamination

requiring investigation, remediation, and monitoring costs to be determined at trial.

        227.    Defendants knew that it was substantially certain that their acts and omissions

described above would result in damage to Plaintiff’s property and groundwater wells from PFAS

contamination. Defendants committed each of the above-described acts and omissions knowingly,

willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless disregard

for Plaintiff's health and safety, and/or property rights.




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                                        COUNT IV:
                                     PUBLIC NUISANCE

       228.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

227 above, and further alleges the following:

       229.    As manufacturers of AFFF/Component Products containing PFAS, including but

not limited to PFOS, PFOA, and/or their chemical precursors, Defendants owed a duty to Plaintiff

and to all persons whom its products might foreseeably harm and to exercise due care in the

formulation, manufacture, sale, marketing, labeling, advertising, warning, and use of PFAS-

containing AFFF.

       230.    Defendants owed a duty to Plaintiff to act reasonably and not place inherently

dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

water was imminent and certain.

       231.    Defendants knew or should have known that PFAS from AFFF used for fire

protection, training, and response activities would enter into the environment, including

groundwater and groundwater sources located at, beneath or nearby the place it was so used.

       232.    Defendants knew or should have known that PFAS are highly soluble in water,

highly mobile, extremely persistent in the environment, and high likely to contaminate water

supplies if released into the environment.

       233.    Defendants knew or should have known that the manner in which they were

designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

would result in injury and damage, including PFAS contamination of groundwater and drinking

and potable water supply wells.

       234.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

can contaminate water resources and are carcinogenic, Defendants negligently:



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           a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

               marketed, promoted, advertised, and/or sold AFFF/Component Products containing

               PFAS, including but not limited to PFOS, PFOA, and/or their chemical precursors;

           b. issued deficient instructions and precautions on how their AFFF/Component Products

               should be used and disposed of, thereby permitting PFAS to contaminate Plaintiff’s

               water systems in SCIA;

           c. failed to recall and/or warn the possessors and users of their AFFF/Component

               Products of the dangers of groundwater contamination as a result of standard use and

               disposal of their products;

           d. failed and refused to issue the appropriate warning and/or recalls to the possessors and

               users of their AFFF/Component Products;

           e. failed to take reasonable, adequate, and sufficient steps or actions to eliminate, correct,

               or remedy any contamination after it occurred; and

           f. otherwise engaged in negligent, careless, or reckless conduct in their respective

               design, manufacture, formulation, handling, labeling, warning, instructions

               marketing, promotion, advertising and/or sale of AFFF/Component Products

               containing PFAS, including but not limited to PFOS, PFOA, and/or their chemical

               precursors.

       235.    As manufacturers, Defendants were in the best position to provide a safe and

suitable product with adequate instructions, proper labeling, and sufficient warnings about their

AFFF/Component Products, and to take steps to eliminate, correct, or remedy any contamination

they caused.




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        236.   Defendants knew that it was substantially certain that their acts and omissions

described above would inevitably result in the contamination of the Plaintiff’s water systems in

HIA.

        237.   As a direct result of Defendants’ acts and omissions and the resulting

contamination, Plaintiff has incurred the significant expenses and costs described above.

        238.   Defendants committed each of the above-described acts and omissions knowingly,

willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless disregard

for Plaintiff's health and safety, and/or property rights.

                                          COUNT V:
                                      PRIVATE NUISANCE

        239.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

238 216above, and further alleges the following:

        240.   Plaintiff is the owner of land, easements, and water rights that permit it to extract

surface and groundwater for use in its wells to provide water to its customers in Pennsylvania.

        241.   Defendants’ intentional, negligent, and/or reckless conduct, as alleged herein, has

resulted in contamination of Plaintiff’s water systems in Pennsylvania with PFAS, human

carcinogens that cause adverse human health effects.

        242.   Defendants’ manufacture, distribution, sale, supply, and marketing of

AFFF/Component Products containing PFAS, including but not limited to PFOS, PFOA, and/or

their chemical precursors, was unreasonable because Defendants had knowledge of the unique and

dangerous chemical properties of PFAS and knew that contamination of groundwater supply wells

was substantially certain to occur, but failed to provide adequate warnings of, or take any other

precautionary measures to mitigate, those hazards.




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       243.    The contamination caused, contributed to, and/or maintained by Defendants

substantially and unreasonably interfered and continues to interfere with Plaintiff’s use and

enjoyment of its property.

       244.    Each Defendant has caused, contributed to, and/or maintained such nuisance, and

is a substantial contributor to such nuisance.

       245.    As a direct and proximate result of Defendants’ acts and omissions as alleged

herein, Plaintiff has suffered, are suffering, and will continue to suffer substantial damages related

to PFAS contamination of the Impacted Systems, including but not limited to devaluation, capital

costs, legal costs, and sampling costs.

       246.    Defendants knew it was substantially certain that their acts and omissions described

above would cause injury and damage, including PFAS contamination of Plaintiff’s groundwater

supplies. Defendants committed each of the above-described acts and omissions knowingly,

willfully, and with oppression, fraud, and/or malice. Such conduct was performed to promote sales

of AFFF, in conscious disregard to the probable dangerous consequences of that conduct and its

reasonably foreseeable impacts on groundwater resources, public health and welfare. Therefore,

Plaintiff requests an award of punitive damages in an amount sufficient to punish these Defendants

and that fairly reflects the aggravating circumstances alleged herein.

       247.    Defendants are jointly and severally liable for all such damages, and Plaintiff is

entitled to recover all such damages and other relief as set forth below.

                                            COUNT IV:
                                            TRESPASS

       248.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

247 above, and further alleges the following:




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        249.     Plaintiff is the owner, operator, and actual possessor of real property and

improvements used for collecting drinking water.

        250.     Defendants    designed,     manufactured,     distributed,   marketed,   and    sold

AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

PFAS that would migrate into groundwater, causing contamination.

        251.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

contaminate Plaintiff's property.

        252.     As a direct and proximate result of Defendants’ trespass, Plaintiff has suffered and

continues to suffer property damage requiring investigation, remediation, and monitoring costs.

        253.     Defendants knew that it was substantially certain that their acts and omissions

described above would threaten public health and cause extensive contamination of property,

including groundwater collected for drinking.

        254.     Defendants committed each of the above-described acts and omissions knowingly,

willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless disregard

for the health and safety of others, and for Plaintiff's property rights.

                                  COUNT V:
               ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

        255.     Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

254 above, and further allegesthe following:

        256.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

“Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,




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including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

assuming significant liabilities (the “Assumed Liabilities”).

       257.    The Transfers and Assumed Liabilities were made for the benefit of DuPont.

       258.    At the time that the Transfers were made, and the Liabilities were assumed, and

until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours Co.

       259.    The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

Chemours Co.

       260.    Plaintiff has been harmed as a result of the conduct of the Fraudulent Transfer

Defendants.

       261.    Plaintiff is entitled to avoid the Transfers and to recover property or value

transferred to DuPont.

                            COUNT VI:
       CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

       262.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

261 above, and further allegesthe following:

       263.    Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

for the Transfers and Assumed Liabilities.

       264.    Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

Co. was made to or for the benefit of DuPont.

       265.    At the time that the Transfers were made and the Assumed Liabilities were assumed,

and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours Co.



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        266.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

remaining assets were unreasonably small in relation to its business.

        267.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

Liabilities.

        268.   At the time that the Transfers were made, and Chemours Co. assumed the Assumed

Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

        269.   Plaintiff has been harmed as a result of the Transfers.

        270.   Plaintiff is entitled to avoid the Transfers and to recover property or value

transferred to DuPont.

                                         COUNT VII:
                                     PUNITIVE DAMAGES

        271.   Plaintiff adopts, realleges, and incorporates each and every allegation in the

paragraphs 1 through 270 above, and further alleges the following:

        272.   Defendants engaged in willful, wanton, malicious, and or/reckless conduct that

caused the foregoing damage upon Plaintiff, disregarding their protected rights.

        273.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

released into the environment and inevitably caused PFAS to contaminate Plaintiff's property and

water wells.




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       274.    Defendants have caused great harm to Plaintiff, acting with implied malice and an

outrageously conscious disregard for Plaintiff's rights and safety, such that the imposition of

punitive damages is warranted.

                                         PRAYER FOR RELIEF

       WHEREFORE,           Plaintiff,     SUSQUEHANNA         AREA       REGIONAL       AIRPORT

AUTHORITY, demands judgment against Defendants, and each of them, jointly and severally,

and request the following relief from the Court:


           a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

               wanton, and careless disregard for the health and safety of Plaintiff;

           b. compensatory damages according to proof including, but not limited to:

                       i. costs and expenses related to the past, present, and future investigation,
                          sampling, testing, and assessment of the extent of PFAS contamination
                          at HIA;

                       ii. costs and expenses related to past, present, and future treatment and
                           remediation of PFAS contamination at HIA; and

                       iii. costs and expenses related to past, present, and future installation and
                            maintenance of filtration systems to assess, evaluate and reduce PFAS
                            at HIA;


           c. an order barring the transfer of DuPont’s liabilities for the claims brought in this

               Complaint;

           d. an award of punitive damages in an amount sufficient to deter Defendants’ similar

               wrongful conduct in the future;

           e. an award of consequential damages;

           f. an order for an award of attorney fees and costs, as provided by law;

           g. an award of pre-judgment and post-judgment interest as provided by law; and


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            h. an order for all such other relief the Court deems just and proper.



                                   DEMAND FOR JURY TRIAL

        Plaintiff, SUSQUEHANNA AREA REGIONAL AIRPORT AUTHORITY, demands a

trial by jury of all issues so triable as a matter of right.



DATED this 2nd day of June, 2022.

                                                 Respectfully submitted,

                                                 NAPOLI SHKOLNIK

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